                                 EXHIBIT H
                               [Proposed Order]




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                             UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF NEW YORK


 In re:                                                 Chapter 11

 THE DIOCESE OF ROCHESTER,                              Case No. 19-20905 (PRW)

                    Debtor.


   ORDER GRANTING INTERIM FEE APPLICATION OF BURNS BAIR LLP FOR
    COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
       EXPENSES INCURRED AS SPECIAL INSURANCE COUNSEL TO THE
   OFFICIAL COMMITTEE OF UNSECURED CREDITORS OF THE DEBTOR FOR
            THE PERIOD JANUARY 1, 2023 THROUGH JULY 31, 2023


          This matter is before the Court on the Interim Fee Application of Burns Bair LLP for

Compensation for Services Rendered and Reimbursement of Expenses Incurred as Special

Insurance Counsel to the Official Committee of Unsecured Creditors of the Debtor for the Period

January 1, 2023 through July 31, 2023 (the “Interim Compensation Period” and the “Application”)

[Doc ____], filed by Burns Bair LLP (“Burns Bair”), special insurance counsel to the Committee.

In the Application, Burns Bair requests (a) allowance of interim compensation for professional

services performed by Burns Bair for the Interim Compensation Period in the amount of

$316,672.00, (b) reimbursement of its actual and necessary expenses in the amount of $11,565.95

incurred during the Interim Compensation Period, and (c) directing the Debtor to pay Burns Bair

the amount of $63,393.19 for the unpaid total.

          The Court, having considered the Application and notice of the Application appearing

adequate, and having convened a hearing on ________ ___, 2023 and being otherwise duly




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advised in the premises, determines that the Application should be, and hereby is GRANTED.

Accordingly,

                 IT IS THEREFORE ORDERED as follows:

        1.       The Application is GRANTED in its entirety.

        2.       Burns Bair’s compensation for professional services rendered during the Interim

Compensation Period is allowed on an interim basis in the amount of $316,672.00.

        3.       Reimbursement of Burns Bair’s expenses incurred during the Interim

Compensation Period is allowed on an interim basis in the amount of $11,565.95.

        4.       The Debtor is directed to pay Burns Bair the amount of $63,393.19 for the unpaid

amounts incurred during the Interim Compensation Period.

        5.       The compensation and reimbursement of expenses awarded in this Order shall be

interim and subject to final approval pursuant to section 330(a)(5) of the Bankruptcy Code.

        6.       The allowance of interim compensation and reimbursement of expenses pursuant

to this Order is without prejudice to Burns Bair’s right to seek additional compensation for services

performed and expenses incurred during the Interim Compensation Period, which were not

processed at the time of the Application.

        7.       This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.


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